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 3   CR-S-09-380 WBS
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 4
     Attorney for Defendant
 5
     NAVPREET SINGH
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                     )       No. CR-S-10-347 MCE
                                                   )
10
                                                   )
            Plaintiff,                             )       STIPULATION AND ORDER
11
                                                   )       CONTINUING STATUS CONFERNCE
     v.                                            )
12
                                                   )       Judge: Hon. Morrison C. England, Jr.
     DISHAN PERERA et al.,                         )
13
                                                   )
                                                   )
14          Defendants.                            )
                                                   )
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                                                   )
                                                   )
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            IT IS HEREBY stipulated between the United States of America through its undersigned
19
     counsel, Todd D. Leras, Assistant United States Attorney, together with counsel for defendant
20
     Dishan Perera, Alan Baum, Esq., counsel for defendant Jeremy Gachago, Michael L. Chastaine,
21
     Esq., counsel for defendant Ramiro Garcia, Christopher R. Cosca, Esq., counsel for defendant
22
     Love Deep Singh Sidhu, Christopher Haydn-Myer, Esq., counsel for defendant Leonard
23
     Woodfork, Olaf W. Hedberg, Esq., counsel for defendant Jason Cavileer, Dan F. Koukol, Esq.,
24
     counsel for defendant Michael Tran, Michael D. Long, Esq., counsel for defendant Navpreet
25

26
     Singh, John R. Manning, Esq., counsel for defendant Imesh Perera, Mark Waecker, Esq., counsel

27
     for defendant Navjot Singh, Mark J. Reichel, Esq., and counsel for defendant Torey Moore,

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 1   Shari Rusk, Esq., that the status conference presently set for January 13, 2011 be continued to
 2   March 17, 2011, at 9:00 a.m., thus vacating the presently set status conference.
 3          This is a complex case involving voluminous discovery and a large amount of evidence
 4
     therefore the parties request further time to review discovery and complete investigation.
 5
     Counsel for the parties therefore agree that this is an appropriate exclusion of time within the
 6
     meaning of Title 18, United States Code § 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable
 7
     time for effective preparation) and Local Code T4, and agree to exclude time from the date of the
 8
     filing of the order until the date of the status conference March 17, 2011.
 9
     IT IS SO STIPULATED
10
     Dated: January 11, 2011                               /s/ Alan Baum
11                                                         ALAN BAUM
                                                           Attorney for Defendant
12
                                                           Dishan Perera
13
     Dated: January 11, 2011                               /s/ Michael L. Chastaine
14                                                         MICHAEL L. CHASTAINE
                                                           Attorney for Defendant
15                                                         Jeremy Gachago
16   Dated: January 11, 2011                               /s/ Christopher R. Cosca
17
                                                           CHRISTOPHER R. COSCA
                                                           Attorney for Defendant
18                                                         Ramiro Garcia
19   Dated: January 11, 2011                               /s/ Christopher Haydn-Myer
                                                           CHRISTOPHER HAYDN-MYER
20                                                         Attorney for Defendant
21
                                                           Love Deep Singh Sidhu
     Dated: January 11, 2011                               /s/ Olaf W. Hedberg
22
                                                           OLAF W. HEDBERG
23                                                         Attorney for Defendant
                                                           Leonard Woodfork
24
     Dated: January 11, 2011                               /s/ Dan F. Koukol
25
                                                           DAN F. KOUKOL
26                                                         Attorney for Defendant
                                                           Jason Cavileer
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 1   Dated: January 11, 2011                   /s/ Michael D. Long
                                               MICHAEL D. LONG
 2
                                               Attorney for Defendant
 3                                             Michael Tran

 4   Dated: January 11, 2011                   /s/ John R. Manning
                                               JOHN R. MANNING
 5
                                               Attorney for Defendant
 6                                             Navpreet Singh

 7   Dated: January 11, 2011                   /s/ Mark Waecker
 8
                                               MARK WAECKER
                                               Attorney for Defendant
 9                                             Imesh Perera
10   Dated: January 11, 2011                   /s/ Shari Rusk
11
                                               SHARI RUSK
                                               Attorney for Defendant
12                                             Torey Moore
13
     Dated: January 11, 2011                   /s/ Mark J. Reichel
14                                             MARK J. REICHEL
                                               Attorney for Defendant
15                                             Navjot Singh
16

17
     Dated: January 11, 2011                   Benjamin B. Wagner
18                                             United States Attorney
19

20                                             by: /s/ Todd D. Leras
                                               TODD D. LERAS
21                                             Assistant United States Attorney
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 1                                               ORDER
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 3          GOOD CAUSE APPEARING, it is hereby ordered that the January 13, 2011 status
 4   conference be continued to March 17, 2011 at 9:00 a.m. I find that the ends of justice warrant an
 5   exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for
 6   effective preparation exceeds the public interest in a trial within 70 days. THEREFOR IT IS
 7   FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and
 8   Local Code T4 from the date of this order to March 17, 2011.
 9       IT IS SO ORDERED.
     DATED: January 31, 2011
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11                                            __________________________________
                                              MORRISON C. ENGLAND, JR
12                                            UNITED STATES DISTRICT JUDGE
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